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 1   KEVIN R. STOLWORTHY, ESQ.
     Nevada Bar No. 2798
 2   MICHELLE D. ALARIE, ESQ.
     Nevada Bar No. 11894
 3   ARMSTRONG TEASDALE LLP
     3770 Howard Hughes Parkway, Suite 200
 4   Las Vegas, Nevada 89169
     Telephone: 702.678.5070
 5   Facsimile: 702.878.9995
     kstolworthy@atllp.com
 6   malarie@atllp.com
 7   Attorneys for Defendant Arch Specialty Insurance Company
 8                                  UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10   CAPITOL SPECIALTY INSURANCE                                     Case No.: 2:20-cv-01382-JAD-VCF
     CORPORATION, a Wisconsin corporation, as
11   assignee of UNITED CONSTRUCTION                                 STIPULATION AND ORDER TO
     COMPANY, a Nevada corporation,
12                                                                   EXTEND DEFENDANT ARCH
                      Plaintiffs,                                    SPECIALTY INSURANCE
13                                                                   COMPANY’S DEADLINE TO
              vs.                                                    RESPOND TO COMPLAINT
14
     STEADFAST INSURANCE COMPANY, a                                  [FIRST REQUEST]
15   Delaware corporation, and ARCH SPECIALTY
     INSURANCE COMPANY, a Missouri
16   Corporation,
17                    Defendants.
18
             Defendant, ARCH SPECIALTY INSURANCE COMPANY (“Arch”), by and through its
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     counsel, Armstrong Teasdale LLP, and Plaintiff CAPITOL SPECIALTY INSURANCE
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     CORPORATION, (“Capitol”), by and through its counsel, Payne & Fears LLP, hereby agree and
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     stipulate, subject to this Court’s approval, to extend the deadline for Arch to answer or otherwise
22
     respond to the Complaint by ten (10) days, or from November 13, 2020, to November 23, 2020.
23
     This is the first request to extend this particular deadline.
24
             On July 24, 2020, Capitol filed a Complaint against Arch among others asserting a claim for
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     Breach of Contract. (ECF No. 1). On October 14, 2020, Arch was served with the Summons and
26
     Complaint through the Insurance Commissioner. Therefore, pursuant to Fed. R. Civ. P. 12(a) and
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     NRS 680A.260(3), Arch’s deadline to answer or otherwise respond to the Complaint is November
28
     13, 2020.
                                                          1
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 1          Good cause exists to extend the deadline for Arch to respond to the Complaint by 10 days, or
 2   to November 23, 2020. Counsel for Arch was only recently retained and desires some additional
 3   time to prepare Arch’s responsive pleading. Capitol does not object to a short 10-day extension of
 4   the response deadline.     The parties believe the short 10-day extension will not unduly delay
 5   proceedings as this case is still in its infancy and no scheduling order is currently in place. This
 6   stipulation is entered into in good faith and is not filed for improper purposes.
 7          Accordingly, the parties request that this Court extend Arch’s deadline to answer or otherwise
 8   respond to the Complaint by 10 days, or to November 23, 2020.
 9   DATED this 6th day of November, 2020.              DATED this 6th day of November, 2020.
10   PAYNE & FEARS LLP                                  ARMSTRONG TEASDALE LLP
11
     By: /s/ Sarah J. Odia                              By: /s/ Michelle D. Alarie
12      SCOTT S. THOMAS, ESQ.                              KEVIN R. STOLWORTHY, ESQ.
        Nevada Bar No. 7937                                Nevada Bar No. 2798
13      SARAH J. ODIA, ESQ.                                MICHELLE D. ALARIE, ESQ.
        Nevada Bar No. 11053                               Nevada Bar No. 11894
14      HILARY A. WILLIAMS, ESQ.                           3770 Howard Hughes Parkway, Suite 200
        Nevada Bar No. 14645                               Las Vegas, Nevada 89169
15      6385 S. Rainbow Blvd., Suite 220
        Las Vegas, Nevada 89118                              Attorneys for Defendant Arch Specialty
16                                                           Insurance Company
        Attorneys for Plaintiff Capitol Specialty
17      Insurance Company

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19
                                                    ORDER
20
                                                    IT IS SO ORDERED.
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                                                    UNITED STATES MAGISTRATE JUDGE
23                                                  DATED: 11-6-2020
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